                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                           )
                                                    )       Case No. 1:07-cr-79
 vs.                                                )
                                                    )       COLLIER/CARTER
 THOMAS HEFFNER                                     )



                                MEMORANDUM AND ORDER

         The defendant appeared for a hearing before the undersigned on February 6, 2012, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for
 Warrant for Offender Under Supervision (Petition) of U.S. Probation Officer Michael E. Stuart
 and the Warrant for Arrest issued by Chief U.S. District Judge Curtis L. Collier. Those present
 for the hearing included:

               (1) AUSA Gregg Sullivan for the USA.
               (2) Defendant THOMAS HEFFNER.
               (3) Attorney Anthony Martinez for defendant.
               (4) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of his
 privilege against self-incrimination accorded him under the 5th Amendment to the United States
 Constitution.

         It was determined the defendant wished to be represented by an attorney and he qualified
 for the appointment of an attorney to represent him at government expense. Federal Defender
 Services of Eastern Tennessee, Inc. was APPOINTED to represent the defendant. It was
 determined the defendant had been provided with a copy of the Petition and the Warrant for
 Arrest and had the opportunity of reviewing those documents with his attorney. It was also
 determined the defendant was capable of being able to read and understand the copy of the
 aforesaid documents he had been provided.

        Defendant waived his right to a preliminary hearing and detention hearing.

        AUSA Sullivan moved defendant be detained pending a hearing to determine whether his
 term of supervision should be revoked.




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                                           Findings

       (1) Based upon U.S. Probation Officer Mike Stuart=s petition and defendant=s
       waiver of preliminary hearing and detention hearing, the undersigned finds there
       is probable cause to believe defendant has committed violations of his conditions
       of supervised release as alleged in the petition.

                                         Conclusions

       It is ORDERED:

       (1) The defendant shall appear in a revocation hearing before Chief U.S. District
       Judge Curtis L. Collier.

       (2) The motion of AUSA Sullivan that defendant be DETAINED WITHOUT
       BAIL pending his revocation hearing before Judge Collier is GRANTED.

       (3) The U.S. Marshal shall transport defendant to a revocation hearing before
       Judge Collier on Thursday, February 16, 2012, at 9:00 am.

       ENTER.

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                                           UNITED STATES MAGISTRATE JUDGE




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